Oo 6S Sy WD WN & WH N_ RF

So NY WH NH WH LY NY RO NOR Rm em ee ee
CO) DN ON UL ele lL See el UR LLULlh LN re lc

 

 

Case 1:21-cr-02003-SMJ ECFNo.1_ filed 01/12/21 PagelD.1 Page 1 of 4

FILED IN THE

William D. Hyslop . U.S. DISTRICT COURT
United States Attorney . ee
Eastern District of Washington Jan 12, 2021
Matthew A. Stone . . - SEAN F. McAVOY, CLERK

Assistant United States Attorney
402 E. Yakima Ave., Ste. 210
Yakima, WA 98901-2760
Telephone: (509) 454-4425

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF 4 RICA, 1:21-CR-2003-SMJ-1
Plaintiff, INDICTMENT

Vv...
Vio.: 18 U.S.C. § 1951 (a),

LAVANDER YAHTIN,. Robbery Affecting Commerce
, Y (Count 1)

Defendant.
18 U.S.C. §§ 1153, 113(a)(3)
Assault with a Dangerous
Weapon

(Count 2)

18 U.S.C. § 924(c)(1)(A)Gi1)
Discharging a Firearm During
and in Relation to a

Crime of Violence

(Count 3)

Forfeiture Allegations
18 U.S.C. § 981,
18 U.S.C. § 924,
28 U.S.C. § 2861

 

The Grand Jury charges:
COUNT 1
l. At all times material to this Indictment, Wolf Den, a business located at

61 W Wapato Road, Wapato, Washington, in the Eastern District of Washington, and
INDICTMENT - 1 :

 
Oo CO Ss HD A f& WY NY

NY NO WN NH NO HN HNO RO Om et
sD BON ON OOS OND RO ON CD

 

to
oo

 

Case 1:21-cr-02003-SMJ ECF No.1 filed 01/12/21 PagelD.2 Page 2of4

its employees, were engaged in the sale of various types of merchandise, to include
tobacco made and produced outside of Washington and transportated to Washington
from outside the State, as well as other items, all bought, sold, transferred, and offered
for sale in interstate and forfeign commerce and in an industry which affects interstate
and foreign commerce. |

2. The term “commerce” is defined in 18 U.S.C. § 1951 as commerce
within the District of Columbia, or any Territory or Possession of the United States;
all commerce between any point in a State, Territory, Possession, or the District of
Columbia and any point outside thereof; all commerce between points within the same

State through any place outside such State; and, all other commerce over which the

‘United States has jurisdiction.

3. The term “robbery” is defined in 18 U.S.C. § 1951 as the unlawful taking

or obtaining of personal property from the person or in the presence of another,

_against his or her will, by means of actual or threatened force, or violence, or fear of

injury, immediate or future, to his or her person or property, or property in his or her
custody or possession, or the person or property of a relative or member of his or her
family or of anyone in his or her company at the time of the taking or obtaining.

4. On or about October 29, 2020, in Wapato, Washington, in the Eastern
District of Washington, the Defendant, LAVANDER YAHTIN, did unlawfully
obstruct, delay, and affect, commerce, as that term is defined in 18-U.S.C. § 1951, and

|| the movement of articles and commodities in such commerce, by robbery, as that term

is defined in 18 U.S.C. § 1951, in that the Defendant, LAVANDER YAHTIN, did
knowingly and willfully take and obtain personal property, to wit: U.S. Currency and
Tobacco, in the presence of an employee of Wolf Den, against the employce’s will
when the employee had custody of the property, by means of actual and threatened
force, violence, and fear of injury, immediate and future, to the employee’s person, to
wit: by the Defendant, LAVANDER YAHTIN, brandishing a firearm and directing
the employee to give the Defendant, LAVANDER YAHTIN, property of the business

INDICTMENT - 2

 
Oo Oo sy HD UN fF WW NO _ K

wo NYO WY NY NY NW WN bo RO ea a a ee ee
ao. ~) ON wa a Go bo — S&S \O co ~~] N Wn > ua i] — S

-§§ 1153, 113(a)(3).

 

 

Case 1:21-cr-02003-SMJ ECFNo.1 filed 01/12/21 PagelD.3 Page 3 of 4

to include U.S. Currency and Tobacco, and by the Defendant, LAVANDER
YAHTIN, taking such property, all in violation of 18 U.S.C. § 1951(a).

| COUNT2

On or about October 29, 2020, within the external boundaries of the Yakama
Nation Indian Reservation, in Indian Country, in the Eastern District of Washington,
the Defendant, LAVANDER YAHTIN, an Indian, assaulted S.B. with a dangerous

weapon, specifically a firearm, with intent to do bodily harm in violation of 18 U.S.C.

t

COUNT 3

On or about October 29, 2020, in the Eastern District of Washington, the
Defendant, LAVANDER YAHTIN, did knowingly discharge, carry and use a firearm,
to wit, a SCCY CX-2 9mm caliber pistol bearing serial number 359647, during and in
relation to a crime of violence for which he may be prosecuted in a court of the United
States, that is, Robbery Affecting Commerce, as alleged in Count 1 of this Indictment,
in violation of 18 U.S.C. § 924(c)\(1)(A)(iii).
| NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS

The allegations contained in this Indictment are hereby realleged and
incorporated by reference for the purpose of alleging forfeitures. °

Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon conviction
of a violation of 18 U.S.C. § 1951(a), as set forth in Count 1 of this Indictment, the
Defendant, LAVANDER YAHTIN, shall forfeit to the United States of America, any
property, real or personal, which constitutes or is derived from proceeds traceable to
the offense.

If any of the property described above, as a result of any act or omission of the
Defendant: |

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

¢. has been placed beyond the jurisdiction of the court;

INDICTMENT - 3
Oo co nN DW WN” HB WH WHO —

mo wo NH NY NY YB HN HNO Re Re Re Re Re Re Re Re Re
IA A BON & BS OC wONKR AW Bw Ww HF SO

 

Nw
oo

 

Case 1:21-cr-02003-SMJ ECFNo.1 filed 01/12/21 PagelD.4 Page 4of4

d. has been substantially diminished in value; or
gi has been commingled with other property which cannot be divided
without difficulty,

the United States of America shall be entitled to forfeiture of substitute property
pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

Pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), upon conviction of
an offense in violation of 18 U.S.C. § 1951(a), as set forth in Count 1 of this
Indictment; and/ or upon conviction of an offense in violation of 18 U.S.C. §
924(c)(1)(A)(iii), as set forth in Count 3 of this Indictment, the Defendant,
LAVANDER YAHTIN, shall forfeit to the United States, any firearms and
ammunition involved in the commission of the offense, including, but not limited to:

- ASCCY CX-2 9mm caliber pistol bearing serial number 359647; and,

- Seven (7) rounds of 9mm ammunition.
DATED this /Z day of January, 2021.
A TRUE BILL

 

 

 

Matthew A. Stone
Assistant United States Attorney

INDICTMENT - 4
